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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0555V
                                          UNPUBLISHED


    RUSSELL PEARCE,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: August 21, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine; Shoulder
                         Respondent.                            Injury Related to Vaccine
                                                                Administration (SIRVA)


Maximillian J. Muller, Muller Brazil, LLP, Dresher, PA, for petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On April 15, 2019, Russell Pearce filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered a shoulder injury related to vaccine
administration (“SIRVA”) caused-in-fact by the tetanus, diphtheria, acellular pertussis
(“tdap”) vaccine on September 27, 2017. Petition at ¶¶ 2, 12. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

      On July 17, 2020, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for his SIRVA. On August 20, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $61,373.62,
representing $60,000.00 for his pain and suffering and $1,373.62 for his past out of pocket

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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medical expenses. Proffer at 1. In the Proffer, Respondent represented that Petitioner
agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $61,373.62, representing $60,000.00 for his pain and suffering and
$1,373.62 for his actual unreimbursable expenses in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                           OFFICE OF SPECIAL MASTERS


    RUSSELL PEARCE,               )
                                  )
              Petitioner,         )
    v.                            )                  No. 19-555V
                                  )                  Chief Special Master Corcoran
    SECRETARY OF HEALTH AND HUMAN )                  ECF
    SERVICES,                     )
                                  )
              Respondent.         )
                                  )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

    I.    Items of Compensation

          On July 16, 2020, respondent conceded that entitlement to compensation was appropriate

under the terms of the Vaccine Act. The Chief Special Master issued a Ruling on Entitlement on

July 17, 2020, finding that petitioner was entitled to vaccine compensation for his right-sided

shoulder injury related to vaccine administration (“SIRVA”). Based upon the evidence of

record, respondent proffers that petitioner should be awarded $61,373.62. The award is

comprised of the following: $60,000.00 for pain and suffering and $1,373.62 for past out of

pocket medical expenses. This amount represents all elements of compensation to which

petitioner would be entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $61,373.62, in the form of a check payable to petitioner. 1 Petitioner

agrees.


1
 Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
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      Petitioner is a competent adult. Evidence of guardianship is not required in this case

                                                   Respectfully submitted,

                                                   ETHAN P. DAVIS
                                                   Acting Assistant Attorney General

                                                   C. SALVATORE D’ALESSIO
                                                   Acting Director
                                                   Torts Branch, Civil Division

                                                   CATHARINE E. REEVES
                                                   Deputy Director
                                                   Torts Branch, Civil Division

                                                   ALEXIS B. BABCOCK
                                                   Assistant Director
                                                   Torts Branch, Civil Division

                                                   s/Traci R. Patton
                                                   TRACI R. PATTON
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Dated: August 20, 2020




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